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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

  ALEXANDRA TORIBIO, individually and
  on behalf of all others similarly situated,
                                                    Case Number: 1:22-cv-06639

  Plaintiff,

          v.

  THE KRAFT HEINZ COMPANY,

                    Defendant.


                                  NOTICE OF DISMISSAL


       Plaintiff Alexandra Toribio, acting individually, pursuant to F.R.C.P. 41(a)(1)(A)(i),

hereby dismisses this action with prejudice and without an award of fees or costs.



Dated: August 23, 2023

                                                  THE SULTZER LAW GROUP P.C.


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